Case 1:16-cv-10874-DPW Document 38-1 Filed 12/04/2

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

SECURITIES AND EXCHANGE COMMISSION,

Plaintiff,

ROSS MCLELLAN,

Defendant.

CONSENT OF DEFENDANT ROSS MCLELL

1
the complaint in this action, enters a general appearance, and admits the
Defendant and over the subject matter of this action.

2. Defendant has been convicted after trial of criminal condy
matters alleged in the complaint in this action. Specifically, in United St
al., Crim, No. 1:16-cr-10094 (D. Mass.) (“United States y. MeLellan’’), 0
of; one count of conspiracy to commit securities fraud and wire fraud [in
§§ 78j(b) and 78ff(a), 17 C.F.R. § 240.10b-5, and 18 U.S.C. §§ 371 and
securities fraud [in violation of 15 U.S.C. §§ 78j(b) and 78ff(a), 17 C.E.R
U.S.C. § 2], and two counts of wire fraud [in violation of 18 U.S.C. §§ 2
acknowledges the collateral estoppel effect of his conviction on certain c

does not contest entry of judgment. This Consent shall remain in full ford

of the existence or outcome of any further proceedings in United States v

QO Pagelof5

C.A. No. 16-cv-10874

AN

Defendant Ross McLellan (“Defendant”) acknowledges having been served with

Court’s jurisdiction over

ct relating to certain
utes v. Ross McLellan et
befendant was convicted
violation of 15 U.S.C.
343]; two counts of

. § 240.10b-5, and 18
and 1343]. Defendant
aims in this case, and

e and effect regardless

McLellan,

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>, Defendant hereby consents to the entry of the final Judgm
hereto (the “Final Judgment”) and incorporated by reference herein, whi¢
permanently restrains and enjoins Defendant from violation of Sections |

Securities Act of 1933 (“Securities Act”)[15 U.S.C. § 77q(a)] and Section

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ent in the form attached

h, among other things,
7(a)(1) and (3) of the

10(b) of the Exchange

Act [15 U.S.C. § 78j(b)] and Rule 10b-5 [17 C.F.R. § 240.10b-5] thereunder.

4. Defendant waives the entry of findings of fact and conclus

Rule 52 of the Federal Rules of Civil Procedure.

5: Defendant waives the right, if any, to a jury trial and to ap
the Final Judgment.
6. Defendant enters into this Consent voluntarily and repres¢

ions of law pursuant to

peal from the entry of

mts that no threats,

offers, promises, or inducements of any kind have been made by the Conhmission or any

member, officer, employee, agent, or representative of the Commission t
enter into this Consent.

1, Defendant agrees that this Consent shall be incorporated i
with the same force and effect as if fully set forth therein.

8. Defendant will not oppose the enforcement of the Final Ju
if any exists, that it fails to comply with Rule 65(d) of the Federal Rules
hereby waives any objection based thereon.

9.
Judgment by the Court and filing with the Clerk of the Court will constitt

of its terms and conditions. Defendant further agrees to provide counsel

within thirty days after the Final Judgment is filed with the Clerk of the ¢

b induce Defendant to

nto the Final Judgment

dgment on the ground,

bf Civil Procedure, and

Defendant waives service of the Final Judgment and agre¢s that entry of the Final

hte notice to Defendant
for the Commission,

rourt, with a signed

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Statement (the “Statement”) confirming that Defendant has received and

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read a copy of the Final

Judgment. The Statement must also be witnessed and signed by a third party,

10. Consistent with 17 C.F.R. 202.5(f), this Consent resolves

only the claims asserted

against Defendant in this civil proceeding. Defendant acknowledges that no promise or

representation has been made by the Commission or any member, office

r, employee, agent, or

representative of the Commission with regard to any criminal liability that may have arisen or

may arise from the facts underlying this action or immunity from any su

Defendant waives any claim of Double Jeopardy based upon the settlem

rh criminal liability.

pnt of this proceeding,

including the imposition of any remedy or civil penalty herein. Defendant further acknowledges

that the Court’s entry of a permanent injunction may have collateral confequences under federal

or state law and the rules and regulations of self-regulatory organization

5, licensing boards, and

other regulatory organizations. Such collateral consequences include, byt are not limited to, a

statutory disqualification with respect to membership or participation in,
member of, a self-regulatory organization. This statutory disqualificatio
are separate from any sanction imposed in an administrative proceeding,
disciplinary proceeding before the Commission based on the entry of thd
action, Defendant understands that he shall not be permitted to contest th

the complaint in this action. Nothing in this Consent affects Defendant's

or association with a

in has consequences that

In addition, in any
injunction in this
}¢ factual allegations of

right to take legal or

factual positions in litigation or other legal proceedings in which the Commission is not a party.

rh

§ 202.5(e), which provides in part that it is the Commission's policy “no

Defendant understands and agrees to comply with the terms of 17 C.F.R.

to permit a defendant or

respondent to consent to a judgment or order that imposes a sanction while denying the

allegations in the complaint or order for proceedings." As part of Defen

Hant’s agreement to

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comply with the terms of Section 202.5(e), Defendant acknowledges th

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P conviction for related

conduct described in paragraph 2 above, and: (i) will not take any action or make or permit to be

made any public statement denying, directly or indirectly, any allegation

creating the impression that the complaint is without factual basis; (ii) w

in the complaint or

ill not make or permit to

be made any public statement to the effect that Defendant does not admit the allegations of the

complaint, or that this Consent contains no admission of the allegations;

of this Consent, Defendant hereby withdraws any papers filed in this act

(iii) and, upon the filing

on to the extent that

they deny any allegation in the complaint. If Defendant breaches this agreement, the

Cominission may petition the Court to vacate the Final Judgment and re

store this action to its

active docket. Nothing in this paragraph affects Defendant’ s: (i) testimdnial obligations; or (ii)

right to take legal or factual positions in litigation or other legal proceed}
Commission is not a party.

12. Defendant hereby waives any rights under the Equal Acc
Small Business Regulatory Enforcement Fairness Act of 1996, or any ot
seek from the United States, or any agency, or any official of the United
her official capacity, directly or indirectly, reimbursement of attorney’s |
expenses, or costs expended by Defendant to defend against this action.
Defendant agrees that Defendant is not the prevailing party in this action
reached a good faith settlement.

1S
constitutional, timeliness, and procedural objections, to the administrativ
instituted when the judgment is entered.

14. Defendant agrees that the Commission may present the F

ngs in which the

pss to Justice Act, the
her provision of law to
States acting in his or
fees or other fees.

For these purposes,

since the parties have

Defendant agrees to waive all objections, including but not limited to,

€ proceeding that will be

nal Judgment to the

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Court for signature and entry without further notice.
15. Defendant agrees that this Court shall retain jurisdiction dver this matter for the

purpose of enforcing the terms of the Final Judgment.

Dated: |O l2g loc ye / a

Ross McLellan

Witnessed By:
c

$7 Phen Lathan

Approved as to form:

Mh Vivo — Mitrsin Meroe, hig

Martin G. Weinberg, Ese” o
20 Park Place

Suite 1000

Boston, MA 02116

(617) 227-3700

Attorney for Defendant

